                                          Case 09-92732-BHL-7A           Doc 39    FiledFORM
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                                                                                  ASSET CASES

Case No.:                    09-92732-BHL                                                                                              Trustee Name:                             Charity S. Bird
Case Name:                   CONLEY, CYNTHIA                                                                                           Date Filed (f) or Converted (c):          07/31/2009 (f)
For the Period Ending:       03/31/2019                                                                                                §341(a) Meeting Date:                     09/10/2009
                                                                                                                                       Claims Bar Date:                          11/17/2017

                                 1                                   2                       3                                 4                        5                                          6

                        Asset Description                          Petition/          Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                         (Scheduled and                          Unscheduled         (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                    Unscheduled (u) Property)                       Value                   Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

 Ref. #
1       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
2       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
3       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
4       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
5       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
6       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
7       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
8       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
9       VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
10      VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
11      VOID                                                               $0.00                              $0.00           OA                             $0.00                                            FA
12      Personal Injury Litigation Settlement              (u)             $0.00                       $6,000.00                                             $0.00                                     $10,000.00
13      Personal Injury Litigation                         (u)             $0.00                       $7,200.00                                             $0.00                                     $12,000.00
14      1/2 interest in 2 Bedroom, 1.5 Bath home located            $115,000.00                               $0.00           OA                             $0.00                                            FA
        174 NE 47th Court, Ocala, Fl. 34470
15      Cash                                                              $25.00                              $0.00           OA                             $0.00                                            FA
16      Checking account with Regions Bank ending in #                     $3.00                              $0.00           OA                             $0.00                                            FA
        8983
17      Checking account with Chase Bank ending in #                      $45.00                              $0.00           OA                             $0.00                                            FA
        1027
18      Savings Account with Chase Bank ending in #                       $26.00                              $0.00           OA                             $0.00                                            FA
        4357
19      Living Room - Couch, table, chair, TV. Dining                    $400.00                              $0.00           OA                             $0.00                                            FA
        Room - Bedroom - Bed, Dresser. Appliances -
        Refrigerator
20      Electronic Equipment - TV, DVD player, stereo.                   $175.00                              $0.00           OA                             $0.00                                            FA
21      Misc. books, pictures, 25+ DVDs, 30+ CDs.                        $150.00                              $0.00           OA                             $0.00                                            FA
22      Clothing for 1 adult female.                                     $350.00                              $0.00           OA                             $0.00                                            FA
23      Misc. costume jewelry.                                           $250.00                              $0.00           OA                             $0.00                                            FA
24      1 week worth of accrued wages.                                   $325.32                         $243.99              OA                             $0.00                                            FA
25      2008 Tax Refund received and spent.                                $0.00                              $0.00           OA                             $0.00                                            FA
                                        Case 09-92732-BHL-7A                       Doc 39         FiledFORM
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                                                                                         ASSET CASES

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For the Period Ending:     03/31/2019                                                                                                                    §341(a) Meeting Date:                        09/10/2009
                                                                                                                                                         Claims Bar Date:                             11/17/2017

                               1                                               2                             3                                  4                         5                                             6

                       Asset Description                                    Petition/                 Estimated Net Value                   Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                    Unscheduled                (Value Determined by                   Abandoned                Received by             Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                 Value                          Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)



TOTALS (Excluding unknown value)                                                                                                                                                                    Gross Value of Remaining Assets
                                                                               $116,749.32                            $13,443.99                                                $0.00                                  $22,000.00




    Major Activities affecting case closing:
     03/03/2019     Correspondence with Settlement Fund re: moving forward with second settlement
     09/06/2018     Have not received settlement statement - still awaiting settlement statement
     06/17/2018     6/17/2018 Requested Status Update from Scott Vickers re: second settlement statement with Boston Scientific
     03/08/2018     Correspondence from Settlement Company indicates that Closing Statements have been moved from "early 2018" to "undetermined" and trustee is awaiting further information.
     06/01/2017     Case reopened for personal injury recovery. Two letters received for settlements totaling $22,000.00 as gross settlement between two different recoveries on mesh settlement.


Initial Projected Date Of Final Report (TFR):         06/15/2018                           Current Projected Date Of Final Report (TFR):            10/31/2019                /s/ CHARITY S. BIRD
                                                                                                                                                                              CHARITY S. BIRD
